      Case 2:12-cr-00255-TLN Document 147 Filed 03/15/16 Page 1 of 2


1                           UNITED STATES DISTRICT COURT

2                           EASTERN DISTRICT OF CALIFORNIA

3

4    UNITED STATES OF AMERICA,                  No. 2:12-cr-00255-GEB
5                   Plaintiff,
6         v.                                    ORDER
7    LYNN FERRELL SMITH,
8                   Defendant.
9

10                Defendant    Lynn    Ferrell        Smith      moves    under   18   U.S.C.

11   § 3582(c)(2) for a reduction of his sentence since his advisory

12   guideline sentencing range has been lowered by Amendment 782 to

13   the United States Sentencing Guidelines. Smith correctly argues

14   that because of this amendment, his applicable sentencing offense

15   level   is   reduced     from    32   to   30,        and   his   advisory   guideline

16   imprisonment    range     is    reduced        from    121—151      months   to   97—121

17   months. Smith requests a reduction comparable to the sentence he

18   received under the prior advisory guideline imprisonment range,

19   which would change his sentence from 42 months to 33 months. The

20   United States disagrees, and insists that even though the Court

21   has discretion to lower Smith’s sentence in light of Amendment

22   782, Smith’s sentence should not be further reduced from the

23   minimum sentence recommended in its § 5K1.1 downward departure

24   letter.

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                  The court has discretion to reduce Smith’s sentence, in
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     light of the 18 U.S.C. § 3553(a) sentencing factors, and his
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     post-sentencing behavior. However, the Court determines that the
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      Case 2:12-cr-00255-TLN Document 147 Filed 03/15/16 Page 2 of 2


1    § 3553(a) sentencing factor concerning the need of the sentence

2    to reflect the seriousness of the offense weighs significantly

3    against imposing a sentence other than 42-month sentence that was

4    imposed. Therefore, the motion is denied.

5    Dated:   March 14, 2016

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